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                VOLUNTARUNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

MINALEAH A KOFFRON,
Plaintiff,                                   Case No. 1:23-cv-327
                                             Hon. Robert J. Jonker
v

PORTAGE PUBLIC SCHOOLS,
MARK BIELANG, SUPERINTENDENT and
NATHAN A. LEDLOW, INTERIM PRINCIPAL
OF PORTAGE NORTHERN HIGH SCHOOL
(in their individual and governmental capacities)

Defendants.
MARLA A. LINDERMAN (P55759)                  Mark T. Ostrowski
Linderman Law PLLC                           Kluczynski Girtz & Vogelzang
                                             3033 Orchard Vista Dr, SE, Ste. 308
531 Woodgrove Drive                          Grand Rapids, MI 49546
Ann Arbor, MI 48103                          (616) 459-0556
                                             Email: MarkO@kgvlaw.com
(810)220-0600                                Attorney for Defendants
lindermanlaw@sbcglobal.net
Attorney for Plaintiff

    NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FRCP 41
       (a)(1)(A)(i) AND WITHDRAWAL OF PENDING MOTION

      Pursuant to Fed. Civ. Pro. R. 41 (1)(A)(i), as Plaintiff believes that her core

requests can be sufficiently addressed in the pending state court matter,

Plaintiff Minaleah A. Koffron, by and through her counsel, hereby give notice
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that the above-captioned action, based on her federal claims only, is

voluntarily dismissed against Defendants Portage Public Schools, Mark

Bielang, Superintendent and Nathan A. Ledlow, Interim Principal of Portage

Northern High School, (in their individual and governmental capacities).

Plaintiff’s state claims were returned to the Kalamazoo Circuit Court and

remain pending there. With the voluntary dismissal, the pending motion is

also dismissed.

                               Respectfully Submitted on April 11, 2023

                               LINDERMAN LAW PLLC
                               /s/ Marla Linderman Richelew
                               Marla Linderman Richelew (P55759)
                               531 Woodgrove Drive
                               Ann Arbor, MI 48103
                               (810) 220-0600
                               lindermanlaw@sbcglobal.net
                               Attorneys for Plaintiff

                               PROOF OF SERVICE
The undersigned certifies that the forgoing instrument was served upon all parties
to the above cause to each of the attorneys of record herein at their respective
addresses disclosed on the pleadings on this April 11, 2023 by the following
method.
 US Mail          Fax  Hand Delivered  UPS
 Fed.Express     X E-file Signature /s/ Marla Linderman Richelew
